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                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TEXAS
                            MIDLAND-ODESSA DIVISION

MATTHEW J. PEASE,                   )
                                    )
                                    )
       Plaintiff,                   )
                                    )
        v.                          )            CASE NO. 24-cv-00322-DC-RCG
                                    )
                                    )
SECURITIES AND EXCHANGE             )
COMMISSION, et al.                  )
                                    )
                                    )
        Defendants.                 )
___________________________________ )

[PROPOSED] ORDER GRANTING CONSENT MOTION FOR EXTENSION OF TIME
         TO RESPOND TO THE SECOND AMENDED COMPLAINT

       After considering the Securities and Exchange Commission’s (“Commission’s”) Consent

Motion for Extension of Time to Respond to the Second Amended Complaint, Dkt. __,

(“Motion”), it is hereby ORDERED that the Motion is GRANTED. The deadline for the

Commission to move to dismiss or otherwise respond to the Second Amended Complaint is

extended to and including May 7, 2025.



SIGNED this __ day of _______________, 2025



                                                         ______________________________
                                                         David Counts
                                                         United States District Judge
